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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,


-against-                                             04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                                  Defendants.


_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                  DECISION & ORDER

      The Government moves to quash a subpoena duces tecum to Immigration and

Customs Enforcement (ICE) for nine Immigration “A- files” related to five prospective

government trial witnesses, the two defendants, and two other persons. See Govt.

Motion, dkt. # 290. For the reasons set forth in the Government’s motion and as

addressed more fully at the pre-trial conference held on August 22, 2006, it is hereby

      ORDERED that the Government’s motion to quash the subpoena duces tecum to

Immigration and Customs Enforcement (ICE) for nine Immigration “A- files” related to five

prospective government trial witnesses, the two defendants, and two other persons [dkt. #

290] is GRANTED, and it is further

      ORDERED that the Government shall produce for the Court for in camera review

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those documents that are otherwise responsive to the aforementioned subpoena duces

tecum for any witness that the Government calls to testify in this matter, and the

Government shall produce those documents before the witness testifies. The Court will

review the files and determine which documents, if any, should be turned over to

Defendants.



IT IS SO ORDERED

DATED:August 23,2006




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